      Case 8:09-cr-00588-PJM Document 84 Filed 03/29/18 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA      *
                              *
               v.             *      CRIMINAL NO. PJM-09-588
                              *
LAMONT LUTHER JOHNSON         *
                              *
         Defendant            *
                              *
                           *******
                    ENTRY OF APPEARANCE

MADAM CLERK:

    Please enter my appearance in this case as co-counsel for the United States of America.


                                         Respectfully submitted,

                                         Stephen M. Schenning
                                         Acting United States Attorney


                                    By: ______/s/_____________________
                                        Chimaobim Nwachukwu
                                        Special Assistant United States Attorney
